              Case 2:15-cv-01050-RAJ Document 47 Filed 08/03/17 Page 1 of 24



 1                                                             HONORABLE RICHARD A. JONES
 2

 3

 4

 5

 6

 7

 8                           UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 9

10     CHRIS BUNGER,
11                                                 No. 2:15-cv-01050-RAJ
                      Plaintiff,
12                                                 PLAINTIFF’S SECOND MOTION FOR
                 v.                                JUDGMENT UNDER FED.R.CIV.PRO. 52
13
       UNUM LIFE INSURANCE COMPANY                 NOTE ON MOTION CALENDAR: 08/25/2017
14
       OF AMERICA,
15
                      Defendant.
16

17                     I. RELIEF REQUESTED AND OVERVIEW OF MOTION

18          Plaintiff Chris Bunger respectfully moves this Court under Federal Rule of Civil

19   Procedure 52 (“Rule 52”) to enter judgment declaring him disabled under short-term disability

20   and long-term disability insurance policies governed by the Employee Retirement Income

21   Security Act, 29 U.S.C. § 1001 et seq. (“ERISA”).

22          The Court previously denied the parties’ dispositive motions and remanded this matter to

23   Unum Life Insurance Company (“Unum”), ordering it to inform Mr. Bunger what additional

24   testing or diagnostics it required to make a determination. Dkt. No. 24 at 22. Following

25   communications between the parties, Unum again denied Mr. Bunger benefits. Mr. Bunger filed

26   an unopposed motion to reopen this action, and now seeks judgment in his favor based on the

27   expanded Administrative Record.
     PLAINTIFF’S SECOND MOTION FOR JUDGMENT
     UNDER FED.R.CIV.PRO. 52 Page 1
                                                                            LAW OFFICE    OF MEL CRAWFORD
                                                                              9425 35th Avenue N.E., Suite C
     NO. 2:15-cv-01050-RAJ                                                      Seattle, Washington 98115
                                                                           Tel 206.694-1614 Fax 206.905-2342
               Case 2:15-cv-01050-RAJ Document 47 Filed 08/03/17 Page 2 of 24



 1                                       II. EVIDENCE RELIED UPON

 2           At the outset of this action, Unum produced the Administrative Record – its claim file

 3   regarding Mr. Bunger – in two parts, Bates-stamped “UA-CL-STD” and “UA-CL-LTD” in the

 4   lower right corner of each page. 1 The parties and the Court referred to that Record by “STD” or

 5   “LTD” followed by the page number. The LTD claim file numbered 513 pages.

 6           Unum produced its expanded claim file on July 17, 2017, Bates-stamped UA-CL-LTD-

 7   000001 through UA-CL-LTD-000992, with the word “UPDATED” appearing below that stamp.

 8   That document is identified below as “AR” followed by the page number. The first 513 pages

 9   are, with a few exceptions, the same as the 513 pages Unum previously produced and identified

10   with the “UA-CL-LTD” footer, although the page ordering differs in some respects (pages of the

11   AR version are frequently numbered one page greater than the “UA-CL-LTD” version), and

12   there is some limited new material at pages AR 1, AR 3 and AR 16. Pages AR 514 through AR

13   992 are documents added to the Record after the remand order.

14           Plaintiff will file a paper copy of the expanded Administrative Record with the Clerk, and

15   submit a highlighted working copy to the Court in accordance with LR 10(e)(10).

16                                                   III. FACTS

17           Mr. Bunger incorporates the facts set forth in the Court’s July 20, 2016 Order and does

18   not re-state them here. The Order stated in part:

19           The Court REMANDS to Unum with instructions to inform Mr. Bunger of what
20           additional testing or diagnostics it requires in order to make an informed decision
             as to whether Mr. Bunger is able to perform his job functions.
21
     Dkt. No. 24 at 22.
22
             The first time Unum communicated with Mr. Bunger after that Order was on November
23
     14, 2016, when Sean Jones emailed Plaintiff’s counsel and requested an “update” regarding Mr.
24
     1
25    “‘Administrative Record’ is somewhat misleading if not an outright misnomer . . . because of the
     connotation that it is a record of out-of-court proceedings before an administrative agency of some branch
26   of government[.] In fact, the record of out-of-court proceedings in this case is a record of proceedings
     before a private entity[.]” Doe v. Travelers Ins. Co., 971 F. Supp. 623, 636-37 (D. Mass. 1997) aff’d in
27   part, rev’d in part, 167 F.3d 53 (1st Cir. 1999).

     PLAINTIFF’S SECOND MOTION FOR JUDGMENT
     UNDER FED.R.CIV.PRO. 52 Page 2
                                                                                   LAW OFFICE    OF MEL CRAWFORD
                                                                                     9425 35th Avenue N.E., Suite C
     NO. 2:15-cv-01050-RAJ                                                             Seattle, Washington 98115
                                                                                  Tel 206.694-1614 Fax 206.905-2342
              Case 2:15-cv-01050-RAJ Document 47 Filed 08/03/17 Page 3 of 24



 1   Bunger’s “overall condition.” AR 542. Mr. Bunger responded on November 18, 2016, and

 2   asked Unum to tell him what testing or diagnostics it required. AR 596.

 3          On November 23, 2016, Mr. Bunger wrote Mr. Jones again. AR 656. He noted that a

 4   remand is treated as an appeal under ERISA’s claims management regulations and wrote:

 5          An appeal must be “conducted by an appropriate named fiduciary of the plan who
            is neither the individual who made the adverse benefit determination that is the
 6
            subject of the appeal, nor the subordinate of such individual[.]” See 29 C.F.R. §
 7          2560.503-1(h)(3)(iii) and 29 C.F.R. § 2560.503-1(h)(4). You were involved in
            the adverse benefit determination. I trust you will ensure that another Unum
 8          employee assumes responsibility for the remand/appeal from this point forward.
 9   AR 657. Mr. Bunger continued:
10          In the interest of moving this matter along without any further delay, Mr. Bunger
            authorizes me to provide the following information for consideration by
11          whomever Unum next assigns to this matter. . . . Since [the remand] Order, Mr.
12          Bunger has been evaluated by a psychiatrist (at the request of the Social Security
            Administration, as he applied for Social Security Disability benefits), a
13          rheumatologist and a neurologist. He has also seen a psychologist for anxiety.

14          The psychiatrist, Robert Sise, M.D., was fully aware of Mr. Bunger’s disabling
            fatigue and his diagnoses. Dr. Sise found no disabling psychiatric condition, and
15
            “no evidence of malingering or factitious disorder.” Mr. Bunger’s psychologist,
16          Michael Badger, Ph.D., states that Mr. Bunger’s anxiety “is not the cause of his
            occasionally disabling fatigue, so much as the result of it,” and that he has “no
17          reason to doubt the authenticity or accuracy of his stated diagnosis” of lyme
            disease or chronic fatigue syndrome (“CFS”). Dr. Sise’s report and Dr. Badger’s
18          statement are enclosed. We do not yet have the chart note from neurologist Lee-
            Loung Liou, MD, Ph.D., but Dr. Liou told Mr. Bunger when he evaluated him on
19
            November 21, 2016 that he had no neurologic disorder. Once we receive that
20          record, we will forward it.

21   AR 657. Dr. Sise’s report is at AR 822-26; Dr. Badger’s statement is at AR 665-66.

22          In addition to reports from Drs. Sise and Badger, Mr. Bunger’s November 23, 2016 letter

23   enclosed a declaration from rheumatologist Richard Neiman, M.D., stating:

24          Dr. Taggart has diagnosed Lyme disease, based on borderline studies, and chronic
            fatigue syndrome. I advised Mr. Bunger that he may never have a clear diagnosis.
25          The differential diagnosis includes chronic Lyme with immunologic response,
            chronic fatigue syndrome, and fibromyalgia without the tender points. Chronic
26          fatigue syndrome is a debilitating disorder characterized by profound fatigue that
27          is not improved by bed rest and that may be worsened by physical or mental

     PLAINTIFF’S SECOND MOTION FOR JUDGMENT
     UNDER FED.R.CIV.PRO. 52 Page 3
                                                                           LAW OFFICE    OF MEL CRAWFORD
                                                                             9425 35th Avenue N.E., Suite C
     NO. 2:15-cv-01050-RAJ                                                     Seattle, Washington 98115
                                                                          Tel 206.694-1614 Fax 206.905-2342
              Case 2:15-cv-01050-RAJ Document 47 Filed 08/03/17 Page 4 of 24



 1          activity. Symptoms affect several body systems and may include weakness,
            muscle pain, impaired memory and/or mental concentration, and insomnia, which
 2          can result in reduced participation in daily activities. Fibromyalgia is a type of
 3          muscular or soft-tissue rheumatism that principally affects muscles and their
            attachment to bones, commonly accompanied by widespread musculoskeletal
 4          pain, muscle stiffness, sleep disturbances, fatigue, lack of concentration, changes
            in mood or thinking, anxiety and depression. Chronic fatigue syndrome and
 5          fibromyalgia blend together somewhat, and are part of the same disease spectrum.
            There is no laboratory test for either. . . .
 6

 7          There is nothing unusual about a patient presenting with symptoms such as those
            Mr. Bunger reports and the physicians being unable to identify a specific
 8          diagnosis. There is nothing unusual with a patient having multiple working
            diagnoses, as here, where the differential diagnosis includes the three diseases
 9          identified above.
10          Since evaluating Mr. Bunger on November 8, 2016, I have reviewed the report of
11          his psychologist, Michael Badger, Ph.D., and a report from psychiatrist Robert
            Sise, M.D., who apparently evaluated Mr. Bunger at the request of the Social
12          Security Administration. Based on these records, it does not appear there is any
            psychiatric or neurologic cause for Mr. Bunger’s fatigue, pain and cognitive
13          complaints. That makes it yet more likely that his correct diagnosis is chronic
            fatigue syndrome, fibromyalgia or chronic Lyme disease. I further understand
14
            that Mr. Bunger was evaluated by neurologist Lee-Loung Liou, MD, Ph.D., on
15          November 21, 2016, and although I have not seen the chart note of that visit I am
            told that Dr. Liou found no neurologic disorder. If that is correct, it, too, makes it
16          most likely Mr. Bunger’s correct diagnosis is one of those identified above.

17          The fatigue and pain from those diseases can certainly be disabling. Although I
            can of course have no direct knowledge of Mr. Bunger’s condition before I
18
            examined him, his report that he experienced overwhelming fatigue, pain and
19          cognitive fog over the last few years is credible. Based on his psychiatric
            evaluation, and the statement of his psychologist, there is no reason to doubt Mr.
20          Bunger’s reports of his symptoms and no reason to suspect that he is or has been
            malingering or engaged in symptom magnification.
21
     AR 669-70.
22
            On December 5, 2016, Unum employee Mr. Jones acknowledged receipt of Mr. Bunger’s
23
     November 23, 2016 letter and its enclosures, and wrote:
24
            We are continuing our review of Chris Bunger’s disability claim and we are in the
25
            process of reviewing the additional medical information you have submitted. If
26          this information is sufficient enough to make an updated claim decision we will
            notify you.
27
     PLAINTIFF’S SECOND MOTION FOR JUDGMENT
     UNDER FED.R.CIV.PRO. 52 Page 4
                                                                              LAW OFFICE    OF MEL CRAWFORD
                                                                                9425 35th Avenue N.E., Suite C
     NO. 2:15-cv-01050-RAJ                                                        Seattle, Washington 98115
                                                                             Tel 206.694-1614 Fax 206.905-2342
              Case 2:15-cv-01050-RAJ Document 47 Filed 08/03/17 Page 5 of 24



 1          If our medical department feels additional information will be necessary to make
            an updated decision we will notify you of exactly what information would be
 2          needed.
 3   AR 672. This letter did not state what testing, diagnosis or treatment Unum required in order to
 4   make an informed decision regarding Mr. Bunger’s claim. Mr. Bunger therefore filed a motion
 5   on December 12, 2016, asking this Court to enforce its order of July 20, 2016. Dkt. No. 34.
 6          On December 13, 2016, Unum “on-site physician” (“OSP”) Todd Lyon, M.D. – whose
 7   medical opinion supported the original claim denial in 2014 – reviewed the materials Mr. Bunger
 8   had provided since the remand and stated that they did “not support a change in prior OSP
 9   opinion.” AR 674-75. He found the reports from Drs. Sise, Badger and Neiman were “of
10   limited value” in determining “impairment during the 1/2014 timeframe.” AR 675.
11          With respect to any testing, diagnostics or treatment Unum required to decide Mr.
12   Bunger’s claim, Dr. Lyon wrote: “In my original review I explained what was missing in regards
13   to medical evidence to support impairment and to support the diagnosis of Lyme disease. I
14   reproduce this below.” AR 675. He then copied and pasted a paragraph from his October 31,
15   2014 report into the claim file. That paragraph addressed only Lyme disease. See AR 360-61
16   (October 31, 2014 report), AR 675.
17          On December 14, 2016, Mr. Jones wrote Mr. Bunger that the information he sent on
18   November 23, 2016 “does not establish the presence of a confirmed medical condition that
19   would explain the insured’s multiple complaints.” AR 678. He then addressed the Court’s July
20   20, 2016 Order for the first time:
21
            There remains a question as to what additional testing or diagnostics would be
22          required to further evaluate Chris Bunger’s claim. In our initial decision letter of
            November 12, 2014 and appeal uphold letter of January 23, 2015, we
23          communicated that the diagnosis of Lyme disease had not been established by
            CDC criteria. This would include positive Lyme serology test completed by an
24          approved FDA Laboratory, monoarthritis, neurologic findings such as Bell’s
25          palsy, also positive MRI finding of the brain could also be an indicator. It would
            be helpful for your client to provide us the results of Lyme’s disease serology
26          testing performed by an FDA approved laboratory. Also, providing MRI imaging
            as previously described would be helpful. Lastly, although a neuropsychological
27
     PLAINTIFF’S SECOND MOTION FOR JUDGMENT
     UNDER FED.R.CIV.PRO. 52 Page 5
                                                                             LAW OFFICE    OF MEL CRAWFORD
                                                                               9425 35th Avenue N.E., Suite C
     NO. 2:15-cv-01050-RAJ                                                       Seattle, Washington 98115
                                                                            Tel 206.694-1614 Fax 206.905-2342
               Case 2:15-cv-01050-RAJ Document 47 Filed 08/03/17 Page 6 of 24



 1          evaluation performed today would not be able to reconstruct your client’s
            cognitive condition as it existed two years ago, we are nonetheless willing to
 2          consider it in our current evaluation if provided.
 3   AR 678.
 4          On receipt of this letter, Mr. Bunger withdrew his motion. See Dkt. No. 36. He replied
 5   to Mr. Jones the same day, December 14:
 6
            So that Mr. Bunger may determine whether and how to spend his resources on
 7          medical testing, would you please answer these questions:

 8             1. Does Unum believe Lyme disease serology testing can
               demonstrate chronic fatigue syndrome or fibromyalgia?
 9

10             2. Does Unum believe an MRI of a patient’s brain can demonstrate
               chronic fatigue syndrome or fibromyalgia?
11
     AR 700. Mr. Jones responded six weeks later, on January 25, 2017, stating:
12

13          In response to your question, Chris Bunger claimed to be disabled due to Lyme
            disease and other conditions including chronic fatigue syndrome. In our non-
14          compensable decision we explained that we had determined Mr. Bunger’s
            disability was not medically supported by the medical information on file. We did
15
            however only specifically state that the condition of Lyme disease had not met the
16          criteria established by the Center for Disease Control and Prevention (CDC). In
            our letter to you on December 14, 2016 we pointed out what acceptable
17          testing/diagnostics would consist of, which we stated would include Lyme
18          serology test and brain MRI findings.

19   AR 695.
20
            Mr. Bunger wrote Unum again on January 31, 2017. AR 689-93. He provided the chart
21
     note from neurologist Lee-Loung Liou, M.D., Ph.D.’s November 21, 2016 evaluation finding no
22
     neurologic disorder (AR 707-720); Dr. Traci Taggart’s chart notes (AR 722-93); records from
23
     David Coots, ARNP (AR 795-808); a declaration describing his symptoms and their effect on his
24
     functioning (AR 854-56); and the negative results of January 17, 2017 Lyme disease serology
25
     testing from the Mayo Clinic Laboratories (AR 814-16). Mr. Bunger reminded Unum that he
26
     had already undergone brain MRIs on January 24 and February 22, 2014, both of which
27
     PLAINTIFF’S SECOND MOTION FOR JUDGMENT
     UNDER FED.R.CIV.PRO. 52 Page 6
                                                                           LAW OFFICE    OF MEL CRAWFORD
                                                                             9425 35th Avenue N.E., Suite C
     NO. 2:15-cv-01050-RAJ                                                     Seattle, Washington 98115
                                                                          Tel 206.694-1614 Fax 206.905-2342
               Case 2:15-cv-01050-RAJ Document 47 Filed 08/03/17 Page 7 of 24



 1   were negative. AR 690; AR 818-19. He advised Unum that Dr. Liou, noting those two MRIs,

 2   believed “that any neurological testing at this point would be of low yield given the improvement

 3   of his symptoms.” AR 690, AR 714. Through counsel, Mr. Bunger advised Mr. Jones:

 4          Mr. Bunger will not obtain a third MRI of his brain when his neurologist sees no
 5          need for it and he lacks the financial resources to self-pay for an expensive
            imaging study not prescribed by a doctor. Given Unum’s observation that a
 6          neuropsychological evaluation at this time would shed no light on his functioning
            since August 2014, that Unum did not require such testing, and the expense
 7          (typically in excess of $2,000), Mr. Bunger will not seek out such an evaluation.
 8          Mr. Bunger has provided evaluations from a rheumatologist, a neurologist, a
 9          psychiatrist and a psychologist. . . . These evaluations are relevant to chronic
            fatigue syndrome and/or fibromyalgia, because . . . those are diagnoses of
10          exclusion, and the absence of psychiatric or neurologic explanation for Mr.
            Bunger’s symptoms makes those two diagnoses that much more likely. Further,
11          psychiatrist Dr. Sise and psychologist Dr. Badger did not find Mr. Bunger
            disabled by any psychiatric condition. I note in this regard that your November
12
            12, 2014 letter denying Mr. Bunger’s long-term disability benefits stated, “[o]ur
13          physician also noted that your ongoing complaints remain medically unexplained
            and could be associated with a psychological condition.” . . . That supposition
14          has not been borne out by the facts.

15   AR 691. Mr. Bunger concluded his January 31, 2017 submission to Unum as follows:
16
            . . . please consider the following: (1) Dr. Neiman identified three diseases in Mr.
17          Bunger’s differential diagnosis, chronic fatigue syndrome, fibromyalgia and
            Lyme disease. (2) Additional Lyme disease testing, performed after Dr. Neiman’s
18          evaluation, was negative. (3) There is no test for chronic fatigue syndrome or
            fibromyalgia; those diseases are diagnosed by the patient’s reports of symptoms
19          and the elimination of other causes. (4) No health care provider has expressed the
            slightest skepticism of Mr. Bunger’s symptom reports. (5) Following evaluation
20
            by specialists, no other causes for Mr. Bunger’s symptoms, including a
21          psychological condition, have been identified. (6) Despite some improvement,
            Mr. Bunger continues to have debilitating fatigue on an unpredictable basis,
22          which preclude regular employment.
23          Unless Unum has reliable evidence disproving any of the preceding, the rational
24          conclusion is that Mr. Bunger has chronic fatigue syndrome and/or fibromyalgia,
            and has been, and remains, disabled under the short-term and long-term disability
25          policies. Mr. Bunger respectfully asks that Unum reinstate his benefits under
            those policies.
26
     AR 693.
27
     PLAINTIFF’S SECOND MOTION FOR JUDGMENT
     UNDER FED.R.CIV.PRO. 52 Page 7
                                                                             LAW OFFICE    OF MEL CRAWFORD
                                                                               9425 35th Avenue N.E., Suite C
     NO. 2:15-cv-01050-RAJ                                                       Seattle, Washington 98115
                                                                            Tel 206.694-1614 Fax 206.905-2342
               Case 2:15-cv-01050-RAJ Document 47 Filed 08/03/17 Page 8 of 24



 1          Mr. Jones responded on February 15, 2017, stating:

 2          After reviewing the information submitted, it appears that you are confirming to
            date, there was no diagnostic testing such as positive Lyme serology testing or
 3          brain MRI findings to support a diagnosis of Lyme disease. In our prior letter we
            were not asking for Chris Bunger to undergo a new brain MRI however were only
 4
            pointing out that if this information had been available it may help support his
 5          claim depending on the findings. The MRIs of January 24, 2014 and February 22,
            2014 you submitted had already been considered in our prior medical reviews and
 6          did not have any significant findings.
 7          Your letter implies that Chris Bunger does have fibromyalgia and/or chronic
 8          fatigue syndrome. We are in the process of having our medical department
            evaluate the new medical information you have submitted in order to determine
 9          whether or not this information changes the prior decision that was made on his
            claim. We will evaluate his claim and determine whether or not his disability was
10          supported for all claimed medical conditions.
11   AR 869.
12          Mr. Bunger wrote Unum again on February 17, 2017, and provided a letter from Dr.
13   Taggart stating in part:
14          He is doing better overall, but his symptoms are persistent, occurring more days
15          than not, especially fatigue. Additionally, mild mental or physical exertion one
            day will cause increased fatigue, pain, and difficulty concentrating the next day,
16          preventing him from working and performing activities of daily living on that
            following day. These persistent symptoms prevent Chris from being able to work
17          at any job on a regular, continuous, and predictable basis.
18   AR 878-79.
19          On March 8, 2017, Dr. Lyon reviewed the most recent materials Mr. Bunger had
20   submitted, and found they did “not contain evidence to support any change in prior OSP
21   opinion.” AR 883. James Bress, M.D., is another Unum physician who, like Dr. Lyon, made the
22   original decision in November 2014 to terminate Mr. Bunger’s benefits. See AR 378-80. On
23   March 10, 2017, Dr. Bress reviewed Dr. Lyon’s March 8, 2017 report and the records Mr.
24   Bunger provided after the remand order. AR 886-87. He stated there was “no change in my
25   prior opinion and concurrence with the OSP [Dr. Lyon]” that Mr. Bunger was capable of full-
26   time work. AR 887.
27
     PLAINTIFF’S SECOND MOTION FOR JUDGMENT
     UNDER FED.R.CIV.PRO. 52 Page 8
                                                                           LAW OFFICE    OF MEL CRAWFORD
                                                                             9425 35th Avenue N.E., Suite C
     NO. 2:15-cv-01050-RAJ                                                     Seattle, Washington 98115
                                                                          Tel 206.694-1614 Fax 206.905-2342
              Case 2:15-cv-01050-RAJ Document 47 Filed 08/03/17 Page 9 of 24



 1

 2          Unum then had its on-site psychologist, Alex Ursprung, Ph.D., opine whether Mr. Bunger

 3   was disabled by a “behavioral health” (“BH”) condition. AR 980. Dr. Ursprung wrote on April

 4   19, 2017 that he found “no support for BH R&Ls [restrictions and limitations].” AR 981.

 5          Unum said nothing to Mr. Bunger about these reviews by Drs. Lyon, Bress and Ursprung.

 6   Mr. Bunger, having received no response to his February 17, 2017 letter, or to his five-page

 7   January 31, 2017 letter and its 20 exhibits, wrote Unum on April 9, 2017 that he would “wait

 8   until April 20, 2017 for Unum to advise of its determination. If no decision is made by that time,

 9   we will consider his administrative remedies exhausted and return to Court.” AR 978.

10          On April 20, 2017, Unum wrote: “[w]e have reviewed the additional information . . . and

11   it has not changed our prior decision on Chris Bunger’s Long Term Disability claim.” AR 987.

12   It stated that its physician found “Chronic Fatigue Syndrome was not supported by any

13   documented sore throat, tender lymph nodes, headaches or unrefreshed sleep, which are all

14   normal symptoms of that condition.” Id. It further stated that “Fibromyalgia was also noted in

15   the records received,” but rejected that diagnosis because “Dr. Newman [sic] notes there were no

16   fibromyalgia tender points” and because Mr. Bunger’s “CRP (C-reactive protein) which can be

17   an indicator of Fibromyalgia, was at a normal level of .03.” Id. It concluded, “our physicians

18   opined that the new information received did not provide medical evidence of any

19   physical/organic medical problems that would support changing our prior claim decision.” Id.

20          Mr. Bunger then moved to reopen this action on April 27, 2017. Dkt. No. 39.

21                           III. LEGAL AUTHORITY AND ARGUMENT

22          A. This Matter is Subject to De Novo Review and May Be Decided Under Rule 52.

23          The Court previously determined it may conduct a de novo trial of this matter under Rule

24   52 based on the administrative record. Dkt. No. 24 at 2-3. Unum’s decisions thus receive no

25   deference. Muniz v. Amec Construction Management, Inc., 623 F.3d 1290, 1295–1296 (9th Cir.

26   2010). Instead, the court performs an “independent and thorough inspection” of the matter.

27   Silver v. Executive Car Leasing Long–Term Disability Plan, 466 F.3d 727, 733 (9th Cir. 2006).

     PLAINTIFF’S SECOND MOTION FOR JUDGMENT
     UNDER FED.R.CIV.PRO. 52 Page 9
                                                                             LAW OFFICE    OF MEL CRAWFORD
                                                                               9425 35th Avenue N.E., Suite C
     NO. 2:15-cv-01050-RAJ                                                       Seattle, Washington 98115
                                                                            Tel 206.694-1614 Fax 206.905-2342
             Case 2:15-cv-01050-RAJ Document 47 Filed 08/03/17 Page 10 of 24



 1   It “evaluates the persuasiveness of each party’s case, which necessarily entails making

 2   reasonable inferences where appropriate.” Dkt. No. 24 at 18 (quoting Oldoerp v. Wells Fargo &

 3   Co. Long Term Disability Plan, 12 F. Supp. 3d 1237, 1251 (N.D. Cal. 2014)). Mr. Bunger has

 4   the burden to show disability by a preponderance of the evidence. Muniz, 623 F.3d at 1294.

 5          B. Mr. Bunger Provided the Testing or Diagnostics Unum Required:

 6          The Court ordered Unum to tell Mr. Bunger what “additional testing or diagnostics it

 7   requires in order to make an informed decision as to whether Mr. Bunger is able to perform his

 8   job functions.” Dkt. No. 24 at 22 (emphasis added). Unum did not immediately comply. When

 9   it finally acknowledged on December 14, 2016 that “[t]here remains a question as to what

10   additional testing or diagnostics would be required,” the only testing it identified concerned but

11   one of Mr. Bunger’s presumed sicknesses, Lyme disease. AR 678.

12          Unum initially said MRI imaging might be “helpful” in assessing Lyme disease. AR 678.

13   It later clarified that it was “not asking for Chris Bunger to undergo a new brain MRI however

14   were only pointing out that if this information had been available it may help support his claim

15   depending on the findings.” AR 869. When Mr. Bunger responded to Unum’s tepid statement

16   regarding a neuropsychological evaluation by stating that he did not intend to obtain such an

17   expensive evaluation because Unum dismissed its value and had not “required” it, Unum said

18   nothing more on the subject. AR 691.

19          Mr. Bunger obtained the only testing Unum required, Lyme serology testing. The

20   negative result presumably made the other diagnoses in Dr. Neiman’s differential diagnosis,

21   chronic fatigue syndrome and fibromyalgia, more likely. Unum sidestepped Mr. Bunger’s

22   question asking whether it believed Lyme disease serology testing or a brain MRI could

23   demonstrate chronic fatigue syndrome or fibromyalgia (AR 700), saying, “We did however only

24   specifically state that the condition of Lyme disease had not met the criteria established by the

25   Center for Disease Control and Prevention (CDC).” AR 695.

26

27
     PLAINTIFF’S SECOND MOTION FOR JUDGMENT
     UNDER FED.R.CIV.PRO. 52 Page 10
                                                                              LAW OFFICE    OF MEL CRAWFORD
                                                                                9425 35th Avenue N.E., Suite C
     NO. 2:15-cv-01050-RAJ                                                        Seattle, Washington 98115
                                                                             Tel 206.694-1614 Fax 206.905-2342
              Case 2:15-cv-01050-RAJ Document 47 Filed 08/03/17 Page 11 of 24



 1           C. There Are No Laboratory Tests for CFS or Fibromyalgia.

 2           The Ninth Circuit recently reiterated that “fibromyalgia and chronic fatigue syndrome are

 3   not established through objective tests or evidence.” Orzechowski v. Boeing Co. Non-Union

 4   Long-Term Disability Plan, Plan No. 625, 856 F.3d 686, 696 (9th Cir. 2017) (citing Salomaa v.

 5   Honda Long Term Disability Plan, 642 F.3d 666, 678 (9th Cir. 2011) and Jordan v. Northrop

 6   Grumman Corp. Welfare Benefit Plan, 370 F.3d 869, 877 (9th Cir. 2004)). See also AR 669, at ¶

 7   6 (rheumatologist Dr. Neiman stating there are no laboratory tests for these illnesses).

 8           D. Unum’s Medical Opinions Were Created During a Procedurally Flawed Process.

 9           ERISA’s claims management regulations, 29 C.F.R. § 2560.503-1, apply to court-ordered

10   remands. Robertson v. Standard Insurance Company, 218 F.Supp.3d 1165, 1169 (D. Or. 2016)

11   (adopting the Department of Labor’s interpretation of its regulations). When a court remands to

12   a claims administrator, the administrator’s review is treated as an appeal of a denied claim. Id.,

13   218 F.Supp. 3d at 1169. An appeal review must be “conducted by an appropriate named

14   fiduciary of the plan who is neither the individual who made the adverse benefit determination

15   that is the subject of the appeal, nor the subordinate of such individual[.]” 29 C.F.R. § 2560.503-

16   1(h)(3)(ii) and (h)(4).

17           Unum employee Sean Jones made the initial adverse benefit determination. See AR 391-

18   96 (letter denying LTD benefits); see also AR 271-73, AR 315-316, AR 326-27, AR 355-56.

19   Mr. Jones continued to conduct the appeal/remand even after Mr. Bunger advised him of

20   Robertson’s holding that a remand is treated as an appeal, and pointed out that his involvement

21   violated 29 C.F.R. § 2560.503-1(h)(3)(ii). AR 656-57. Further, Mr. Jones then proceeded to

22   consult with Drs. Lyon and Bress during the appeal/remand, although both were involved in the

23   original benefit termination. AR 360-61; AR 378-80. That, too, violated ERISA’s claims

24   management regulations, which state that “the health care professional engaged for purposes of a

25   consultation” during an appeal “shall be an individual who is neither an individual who was

26   consulted in connection with the adverse benefit determination that is the subject of the appeal,

27   nor the subordinate of such individual.” 29 C.F.R. § 2560.503-1(h)(3)(v) and (h)(4).
     PLAINTIFF’S SECOND MOTION FOR JUDGMENT
     UNDER FED.R.CIV.PRO. 52 Page 11
                                                                              LAW OFFICE    OF MEL CRAWFORD
                                                                                9425 35th Avenue N.E., Suite C
     NO. 2:15-cv-01050-RAJ                                                        Seattle, Washington 98115
                                                                             Tel 206.694-1614 Fax 206.905-2342
             Case 2:15-cv-01050-RAJ Document 47 Filed 08/03/17 Page 12 of 24



 1          The regulations do not explain why the person conducting an appeal review, or the health

 2   care professionals consulted during that review, must not be the original decision-makers.

 3   Common sense suggests it is more difficult to find one’s own decision wrong than to find that

 4   another person erred. Violations of this regulation constitute more than “technical

 5   noncompliance,” and can prejudice a claimant. Crosby v. Blue Cross/Blue Shield of Louisiana,

 6   No. CIV.A. 08-693, 2012 WL 5493761, at *8 (E.D. La. Nov. 13, 2012) (citing Lafleur v. La.

 7   Health Serv. and Indem. Co., 563 F.3d 148, 157 (5th Cir. 2009)).

 8          At no time before Mr. Jones issued a final denial on April 20, 2017, did he identify the

 9   Unum doctors reviewing the matter or provide their reports so Mr. Bunger might respond. One

10   can reasonably question whether Mr. Jones, Dr. Lyon and Dr. Bress were motivated to engage in

11   the “meaningful dialogue” ERISA requires, Booton v. Lockheed Med. Ben. Plan, 110 F.3d 1461,

12   1463 (9th Cir. 1997), and were open to finding their own prior determinations wrong.

13          The actual substantive records Unum generated following the remand order comprise

14   only a handful of pages. Of those, two pages are Dr. Lyon’s December 13, 2016 report (AR 674-

15   75); two are Dr. Lyon’s March 8, 2017 addendum (AR 883-84); two are Dr. Bress’ March 10,

16   2017 report (AR 886-87); and three are Dr. Ursprung’s “behavioral health” report finding no

17   psychiatric disability (AR 980-82). The expanded administrative record does not document any

18   discussion of, or reflection upon, the remand order. There is no indication Dr. Lyon, Dr. Bress,

19   or any other medical professional employed by Unum even reviewed the order. The record

20   documents no conference or meeting in which Unum discussed or considered what testing or

21   diagnostics it needed to make a determination regarding Mr. Bunger’s claim. Rather than taking

22   any proactive steps to comply with the remand order, Unum operated only reactively – reviewing

23   the information Mr. Bunger volunteered and then having its same in-house doctors who urged

24   claim denial in 2014 declare that their original opinions were correct.

25          Because Unum conducted a procedurally flawed review the medical opinions it generated

26   during that process are entitled to no deference and little weight.

27
     PLAINTIFF’S SECOND MOTION FOR JUDGMENT
     UNDER FED.R.CIV.PRO. 52 Page 12
                                                                                LAW OFFICE    OF MEL CRAWFORD
                                                                                  9425 35th Avenue N.E., Suite C
     NO. 2:15-cv-01050-RAJ                                                          Seattle, Washington 98115
                                                                               Tel 206.694-1614 Fax 206.905-2342
             Case 2:15-cv-01050-RAJ Document 47 Filed 08/03/17 Page 13 of 24



 1
            E. The Opinions of Examining Doctors Warrant More Weight than Those of Non-
 2          Examining Consultants.
 3          Generally, the opinions of doctors who did not examine a claimant merit less weight than
 4   those of examining doctors. See, e.g., Montour v. Hartford Life & Acc. Ins. Co., 588 F.3d 623,
 5   634 (9th Cir. 2009) (insurer’s use of a “pure paper” review “raise[s] questions about the
 6   thoroughness and accuracy of the benefits determination.”); Jebian v. Hewlett-Packard Co.
 7   Employee Benefits Organization Income Protection Plan, 349 F.3d 1098, 1109 n.8 (9th Cir.
 8   2003) (“On de novo review, a district court may, in conducting its independent evaluation of the
 9   evidence in the administrative record, take cognizance of the fact . . . that a given treating
10   physician has ‘a greater opportunity to know and observe the patient’ than a physician retained
11   by the plan administrator.”) (citing Black & Decker Disability Plan v. Nord, 538 U.S. 822, 832
12   (2003)); Eisner v. The Prudential Ins. Co. of Am., 10 F.Supp.3d 1104, 1115 (N.D. Cal. 2014)
13   (courts “routinely weigh” records of treating physicians “more heavily than they do reports and
14   file reviews from paid consultants who never examine the claimant or talk to the claimant’s
15   treating physicians.”). Unum could have examined Mr. Bunger if it chose to do so. AR 429.
16          In-person evaluations can be particularly important with diseases like CFS and
17   fibromyalgia, which lack objective tests and rely on the patient’s reports. See Salomaa, supra, in
18   which the physicians who examined the plaintiff concluded he was totally disabled by CFS. Id.,
19   642 F.3d at 676. “The only documents with an ‘M.D.’ on the signature line concluding that he
20   was not disabled were by the physicians the insurance company paid to review his file. They
21   never saw Salomaa.” Id. See also, e.g., Bosley v. Metro. Life Ins. Co., No. C 16-00139 WHA,
22   2017 WL 2543805, at *8 (N.D. Cal. June 13, 2017) (in context of a claimant with CFS “the
23   opinions of [the claimant’s] treating physicians remain more credible and probative . . . than the
24   opinions of MetLife’s medical director and physician consultants.”); Laurie v. United of Omaha
25   Life Ins. Co., No. 3:14-CV-01937-YY, 2017 WL 975947, at *15 (D. Or. Jan. 23, 2017), report
26   and recommendation adopted, No. 3:14-CV-01937-YY, 2017 WL 970262 (D. Or. Mar. 13,
27
     PLAINTIFF’S SECOND MOTION FOR JUDGMENT
     UNDER FED.R.CIV.PRO. 52 Page 13
                                                                                LAW OFFICE    OF MEL CRAWFORD
                                                                                  9425 35th Avenue N.E., Suite C
     NO. 2:15-cv-01050-RAJ                                                          Seattle, Washington 98115
                                                                               Tel 206.694-1614 Fax 206.905-2342
                 Case 2:15-cv-01050-RAJ Document 47 Filed 08/03/17 Page 14 of 24



 1   2017) (given CFS diagnosis, insurer “should have had a board certified rheumatologist perform

 2   an IME to help determine the veracity of [the claimant’s] self-reported symptoms.”).

 3           Board certified rheumatologist Dr. Neiman evaluated Mr. Bunger on referral from Dr.

 4   Taggart. He found Mr. Bunger’s report of his symptoms veracious. AR 670.

 5           F. Substantial Evidence Establishes that Mr. Bunger Was and Remains Disabled.

 6           A person is “disabled” under the STD policy if “limited from performing the material and

 7   substantial duties of your own job . . . due to your sickness[.]” STD-367. The LTD policy

 8   defines “disabled” as follows:

 9           -     you are limited from performing the material and substantial duties of your
10                 own job or a reasonable alternative offered to you by your Employer due to
                   your sickness or injury; and
11
             -     you have a 20% or more loss in your indexed monthly earnings due to the
12                 same sickness or injury.
13           After 9 months of payments, you are disabled when Unum determines that due to
14           the same sickness or injury, you are unable to perform the duties of any gainful
             occupation for which you are reasonably fitted by education, training or
15           experience.

16   AR 429. The preponderance of the evidence is that Mr. Bunger was and remains disabled under

17   all three of these definitions.

18           1. Mr. Bunger Has a Sickness.

19           In its remand order, the Court observed that “Unum appears to conflate the issue of

20   whether Mr. Bunger is sick with the issue of whether Mr. Bunger has been properly diagnosed,”

21   noting that if he had not been correctly diagnosed that “does not mean he is not sick.” Dkt. No.

22   24 at 21. Dr. Neiman states there “is nothing unusual about a patient presenting with symptoms

23   such as those Mr. Bunger reports and the physicians being unable to identify a specific

24   diagnosis.” AR 669. Nor is there anything “unusual with a patient having multiple working

25   diagnoses[.]” Id. The “diagnostic process with respect to chronic fatigue syndrome can evolve

26   over time[.]” Kuhn v. Prudential Ins. Co. of Am., 551 F. Supp. 2d 413, 427 (E.D. Pa. 2008).

27
     PLAINTIFF’S SECOND MOTION FOR JUDGMENT
     UNDER FED.R.CIV.PRO. 52 Page 14
                                                                             LAW OFFICE    OF MEL CRAWFORD
                                                                               9425 35th Avenue N.E., Suite C
     NO. 2:15-cv-01050-RAJ                                                       Seattle, Washington 98115
                                                                            Tel 206.694-1614 Fax 206.905-2342
             Case 2:15-cv-01050-RAJ Document 47 Filed 08/03/17 Page 15 of 24



 1          As it did during the underlying claim, Unum treats Mr. Bunger’s CFS diagnosis with a

 2   light hand, writing on February 15, 2017, that Mr. Bunger “implies” he has CFS. AR 869. That

 3   understates matters. Dr. Taggart noted CFS on a Unum “Attending Physician’s Statement” three

 4   years earlier, on February 7, 2014. STD-049. She did so repeatedly thereafter; see Dkt. No. 13

 5   at page 13 (listing over 20 dates in 2014 when she identified CFS as a diagnosis). Dr. Taggart

 6   continued to diagnose CFS during 2015 and 2016. AR 723, 725, 727, 761, 765, 767, 769, 773.

 7          Rheumatologist Dr. Neiman included CFS in his November 8, 2016 differential

 8   diagnosis. AR 669. He also included fibromyalgia, noting that chronic fatigue syndrome and

 9   fibromyalgia “blend together somewhat, and are part of the same disease spectrum.” Id. He

10   explained that while fibromyalgia was previously diagnosed by evaluating tender points at 18

11   fixed locations on a patient’s body, under revised criteria the diagnosis now may be made “based

12   on the patient’s fatigue and diffuse pain without examination of tender points.” Id. See also,

13   e.g., Rounds v. Comm’r Soc. Sec. Admin., 807 F.3d 996, 1005 n.10 (9th Cir. 2015) (“in contrast

14   to the 1990 criteria, the 2010 diagnostic criteria do not require a specific number of tender points

15   in specific locations.”). Fibromyalgia is “commonly accompanied by fatigue, sleep disturbances,

16   lack of concentration, changes in mood or thinking, anxiety and depression.” Lang v. Long-Term

17   Disability Plan of Sponsor Applied Remote Tech., Inc., 125 F.3d 794, 796 (9th Cir. 1997).

18          As the Court noted, “Unum never seems to suggest that Mr. Bunger’s complaints are

19   untrue, just that those complaints have not been properly tested, diagnosed or treated.” Dkt. No.

20   24 at 21. Since the Court made that observation, a rheumatologist, a neurologist, a psychiatrist,

21   an Advanced Registered Nurse Practitioner and a psychologist all evaluated Mr. Bunger. None

22   expressed any doubt or skepticism of his reports. Neurologist Dr. Liou diagnosed “Fatigue,

23   unspecified type,” ICD-10 code R53.83. AR 707. ARNP David Coots did the same. AR 795.

24   Psychiatrist Robert Sise, M.D., noted Mr. Bunger’s medical history as positive for chronic

25   fatigue syndrome and Lyme disease, and found “no evidence of malingering or factitious

26

27
     PLAINTIFF’S SECOND MOTION FOR JUDGMENT
     UNDER FED.R.CIV.PRO. 52 Page 15
                                                                               LAW OFFICE    OF MEL CRAWFORD
                                                                                 9425 35th Avenue N.E., Suite C
     NO. 2:15-cv-01050-RAJ                                                         Seattle, Washington 98115
                                                                              Tel 206.694-1614 Fax 206.905-2342
             Case 2:15-cv-01050-RAJ Document 47 Filed 08/03/17 Page 16 of 24



 1   disorder.” AR 823, AR 825. Psychologist Dr. Badger saw Mr. Bunger at least 18 times, and

 2   found “no reason to doubt the authenticity or accuracy of his stated diagnosis.” AR 665. 2

 3          The Unum STD and LTD policies require a person to have a “sickness.” They do not

 4   require a person to have an unvarying diagnosis. Whatever its name, Mr. Bunger has a sickness.

 5          2.   Unum’s Speculation of a Psychiatric or Neurologic Cause Was Incorrect.

 6          Unum faulted Dr. Taggart for not referring Mr. Bunger “to a psychological or

 7   neurological evaluation that could have identified the cause of the claimant’s symptoms and

 8   defined the extent, if any, of claimant’s impairment as a result of such symptoms.” Dkt. No. 16

 9   at 14 (internal quotation marks and citation omitted). It faulted Mr. Bunger because he “never

10   obtained the behavioral health evaluation and treatment recommended by Dr. Taggart.” Dkt. No.

11   17 at 5-6. It urged that because Dr. Taggart “did not rule out a psychological cause of Mr.

12   Bunger’s fatigue,” the “medical records fail to support a diagnosis of Lyme disease or CFS or

13   any other illness or disease” – and thus Mr. Bunger’s action should be dismissed. Id. at 6.

14          During the remand period, Mr. Bunger underwent multiple evaluations. Neurologist Dr.
15   Liou found no neurologic disorder. AR 714. Psychiatrist Dr. Sise, after examining Mr. Bunger
16   and hearing his account of disabling fatigue and cognitive problems, found “no evidence of
17   malingering or factitious disorder.” AR 825. He found an unspecified depressive disorder, an
18   unspecified neurocognitive disorder and an unspecified anxiety disorder, and stated that those
19   “psychiatric illnesses may be secondary to Lyme Disease but other indeterminate etiologies may
20   also contribute.” Id. Treating psychologist Dr. Badger stated that the anxiety for which he was
21   treating Mr. Bunger was “not the cause of his occasionally disabling fatigue, so much as the
22   result of it[.]” AR 665. These evaluations addressed, and dismissed, Unum’s concern that the
23   primary cause of Mr. Bunger’s symptoms is neurologic or psychiatric in nature. Unum itself
24   concluded he had no disabling psychiatric illness. AR 981.
25
     2
      After the remand, Unum obtained a 72-page investigative report (AR 897-968) detailing Mr. Bunger’s
26   “Likely Associates” and “Possible Criminal Records (None Found).” AR 897. It looked for eviction,
     accident and bankruptcy records. Id. That investigation, and Unum’s review of Mr. Bunger’s Facebook
27   account, AR 893-95, produced nothing impugning Mr. Bunger’s veracity.

     PLAINTIFF’S SECOND MOTION FOR JUDGMENT
     UNDER FED.R.CIV.PRO. 52 Page 16
                                                                               LAW OFFICE    OF MEL CRAWFORD
                                                                                 9425 35th Avenue N.E., Suite C
     NO. 2:15-cv-01050-RAJ                                                         Seattle, Washington 98115
                                                                              Tel 206.694-1614 Fax 206.905-2342
             Case 2:15-cv-01050-RAJ Document 47 Filed 08/03/17 Page 17 of 24



 1          3. Mr. Bunger’s Symptoms Disabled and Continue to Disable Him:

 2          The Court stated in its remand order that if “Mr. Bunger’s complaints, and Dr. Taggart’s

 3   assessments, are to be believed,” then Mr. Bunger would not be able to work eight hours a day

 4   developing website content. Dkt. No. 24 at 21. The expanded record provides no reason to

 5   disbelieve or discount Mr. Bunger’s complaints or Dr. Taggart’s assessments. Certainly the

 6   examining health care providers identified no reason to do so.

 7          Mr. Bunger described his symptoms and their effect on his functioning in a declaration

 8   dated January 30, 2017:

 9
            It is difficult to describe the fatigue I experience. It makes my body, especially
10          my legs, feel very heavy. Movements feel slow and awkward, sometimes like I
            do not have full control of my body. Many times, even if I slept through the
11          night, the fatigue is still there the next day, almost as if I hadn’t slept at all. I feel
            groggy in the morning, and it takes me some time, often some hours, to feel fully
12
            awake. Some days I don’t feel that I have ever completely gotten awake and clear
13          – I spend the day feeling foggy and weighted down. I feel drained, like I don’t
            have any energy. Being overwhelmed with this fatigue interferes with every
14          aspect of my life. The term “Brain fog” describes my mental condition on bad
15          days – it is hard for me to keep my focus, to read, and to keep my attention on
            what I am trying to read or do. The fatigue makes me irritable and thin-skinned.
16          I believe it affects the rest of my health, so that, for example, it takes me two
            weeks to get over a simple head cold. I have had a lot of anxiety since becoming
17
            sick. Before January 2014 I was very healthy, and never could have imagined not
18          being able to work and care for my family. I worry a lot about what is going to
            happen to me and how I can provide for my family. I have seen a counselor about
19          this, which has been somewhat helpful.
20
            My condition has improved since 2014, but I have not yet reached a point where I
21          have consistent energy and strength. I continue to have good days and bad days.
            It is generally not possible to know if any particular day will be a good day or a
22
            bad day, although if I exert myself very much on one day, I am usually much
23          more fatigued the following day.

24          On good days I can get some things done, accomplish some tasks. For example, I
25          can attend to my children by myself for a few hours. I am able to take short
            walks, and do simple exercises or calisthenics. I can do some household chores.
26          On bad days, I feel wiped out and am unable to do chores or tasks. It takes all my
            energy to do the simplest things. It is difficult for me to read or write, it can be
27
     PLAINTIFF’S SECOND MOTION FOR JUDGMENT
     UNDER FED.R.CIV.PRO. 52 Page 17
                                                                                  LAW OFFICE    OF MEL CRAWFORD
                                                                                    9425 35th Avenue N.E., Suite C
     NO. 2:15-cv-01050-RAJ                                                            Seattle, Washington 98115
                                                                                 Tel 206.694-1614 Fax 206.905-2342
             Case 2:15-cv-01050-RAJ Document 47 Filed 08/03/17 Page 18 of 24



 1          difficult even to get out of bed and get dressed. On those days I struggle to
            interact with my family, and have to rely on my wife or other family members to
 2
            care for the children. Also on bad days it is hard for me to keep my focus in
 3          active environments, such as large stores or other places with a lot of people and
            activity going on. I have about as many good days as bad. One of the worst
 4          things about my condition is that it is so unpredictable, whether I will have a good
 5          day or a bad day.

 6          In addition to fatigue, I continue to have pain, usually in my feet, ankles, hands,
            legs, and back. Often this is just an ache or a sore/stiff feeling in my joints, and is
 7          not enough by itself to keep me from being able to do things. I occasionally have
 8          some muscle pain on either side of my body. Generally it is just a tenderness or
            tightness in my muscles, but I’ve experienced a handful of episodes of a seizing
 9          or stabbing pain so bad that it caused me to buckle over. There have also been a
            handful of times in the past year that I have had back pain so severe that I could
10
            only lie down. If my only symptom was this pain, I would be able to work. It is
11          the fatigue which prevents me from doing so.

12          . . . If my health would allow, I would absolutely return to work. But there is no
13          way I could have held a full-time job during this time that I have been off work
            due to my sickness. Because I do not know when I will have a good day or a bad
14          day, because I have bad days about half the time, and because I am exhausted the
            day after I exert myself, I could not hold a job that required me to be present on a
15
            regular and predictable basis, day after day.
16
     AR 854-56.
17

18          Dr. Taggart has described the good day/bad day nature of Mr. Bunger’s sickness. She

19   states that his “symptoms are persistent, occurring more days than not, especially fatigue.”

20   Noting that “mild mental or physical exertion one day will cause increased fatigue, pain, and

21   difficulty concentrating the next day,” she concludes that he remains unable to “work at any job

22   on a regular, continuous, and predictable basis.” AR 879. Dr. Sise stated:

23          The claimant’s ability to perform simple and repetitive tasks is fair, ability to
            perform detailed and complex tasks is fair to limited, and ability to perform work
24          activities on a consistent basis without special or additional instructions is fair to
25          limited based on the claimant’s performance on the cognitive exam.

26          The claimant’s ability to perform work duties at a sufficient pace is fair to limited
            based on the claimant’s abilty to perform activities of daily living.
27
     PLAINTIFF’S SECOND MOTION FOR JUDGMENT
     UNDER FED.R.CIV.PRO. 52 Page 18
                                                                               LAW OFFICE    OF MEL CRAWFORD
                                                                                 9425 35th Avenue N.E., Suite C
     NO. 2:15-cv-01050-RAJ                                                         Seattle, Washington 98115
                                                                              Tel 206.694-1614 Fax 206.905-2342
               Case 2:15-cv-01050-RAJ Document 47 Filed 08/03/17 Page 19 of 24



 1          The claimant’s ability to maintain regular attendance in the workplace and
            complete a normal workday without interruptions is fair to limited based on his
 2          current functional status and recent work history.
 3   AR 826.
 4          “Regular job attendance is a requirement of virtually all jobs[.]” Delaney v. Prudential
 5   Ins. Co. of Am., 68 F. Supp. 3d 1214, 1229 (D. Or. 2014). Mr. Bunger’s unpredictable good
 6   days and bad days leave him unable to meet that requirement. Delaney noted that “in the social
 7   security context, legions of cases rest in whole or in part on vocational expert testimony that
 8   missing two or more days of work per month renders a claimant unemployable.” Id. at 1229-
 9   30, citing among other authority Ghanim v. Colvin, 763 F.3d 1154, 1159 (9th Cir. 2014)
10   (missing two or more days per month would preclude work as a kitchen helper or commercial
11   cleaner); Brewes v. Comm’r of Social Sec. Admin., 682 F.3d 1157, 1163 (9th Cir. 2012)
12   (missing two or more days per month would make claimant unemployable as a photocopy
13   machine operator, laundry worker, or janitor); Yurt v. Colvin, 758 F.3d 850, 855 (7th Cir. 2014)
14   (vocational expert testimony that “in competitive employment workers were expected to be on
15   task 80 to 85 percent of the time and could not miss more than one or two days per month and
16   up to approximately ten per year”).
17          Like the claimant in Nagy v. Grp. Long Term Disability Plan for Employees of Oracle
18   Am., Inc., Mr. Bunger has met his burden to “show that, whether diagnosed or not, his or her
19   injury or sickness is disabling.” 183 F. Supp. 3d 1015, 1027–28 (N.D. Cal. 2016).
20
            4. The Court Should Declare Mr. Bunger Disabled From His Own and
21             From Any Occupation.

22          When Mr. Bunger filed this action on June 29, 2015, he was still – but barely – within the

23   LTD policy’s nine-month “own job” definition of disability. AR 429. Had Unum paid him LTD

24   benefits, it would have begun doing so on October 5, 2014, and the nine-month “own job” period

25   would have ended on July 5, 2015, one week after he filed his complaint. From July 6, 2015

26   forward, Mr. Bunger was disabled if “unable to perform the duties of any gainful occupation” for

27   which he was “reasonably fitted by education, training or experience.” AR 429.

     PLAINTIFF’S SECOND MOTION FOR JUDGMENT
     UNDER FED.R.CIV.PRO. 52 Page 19
                                                                              LAW OFFICE    OF MEL CRAWFORD
                                                                                9425 35th Avenue N.E., Suite C
     NO. 2:15-cv-01050-RAJ                                                        Seattle, Washington 98115
                                                                             Tel 206.694-1614 Fax 206.905-2342
             Case 2:15-cv-01050-RAJ Document 47 Filed 08/03/17 Page 20 of 24



 1          Because he was still under the “own job” definition of disability, Mr. Bunger’s 2014 pro

 2   se appeal to Unum did not address his abilty to work at “any occupation.” Generally, an ERISA

 3   plaintiff “must avail himself or herself of a plan’s own internal review procedures” by an appeal

 4   to the insurer “before bringing suit in federal court.” Diaz v. United Agric. Employee Welfare

 5   Benefit Plan & Trust, 50 F.3d 1478, 1483 (9th Cir.1995). This “exhaustion requirement” serves

 6   “to help reduce the number of frivolous lawsuits under ERISA; to promote the consistent

 7   treatment of claims for benefits; to provide a nonadversarial method of claims settlement; and to

 8   minimize the costs of claims settlement for all concerned.” Amato v. Bernard, 618 F.2d 559, 567

 9   (9th Cir. 1980); see also Diaz, 50 F.3d at 1483.

10          The ERISA statutes do not themselves require exhaustion. Abatie v. Alta Health & Life

11   Ins. Co., 458 F.3d 955, 961 n. 2 (9th Cir. 2006). Nor is exhaustion a jurisdictional requirement.

12   Vaught v. Scottsdale Healthcare Corp. Health Plan, 546 F.3d 620, 626 n. 2 (9th Cir.2008).

13   Accordingly, a “trial court has discretion to adhere to the exhaustion requirement or apply a

14   judicially-created exception to excuse the failure to exhaust administrative remedies.” Smith v.

15   Weekly Disability Income Ins. for Employees of Friends of KEXP, No. C09-0937-JCC, 2010 WL

16   890068, at *2 (W.D. Wash. Mar. 9, 2010). The most “familiar examples” of courts excusing

17   exhaustion are when “resort to the administrative route is futile or the remedy inadequate.” Id.,

18   (quoting Amato, 618 F.2d at 568). The futility exception “is designed to avoid the need to pursue

19   an administrative review that is demonstrably doomed to fail.” Diaz, 50 F.3d at 1485.

20          In Smith, this Court held the plaintiff need not appeal a denial of long-term disability

21   benefits, because the insurer had already denied short-term disability benefits – making “any

22   attempt to administratively claim long-term benefits and receive a favorable ‘total disability’

23   determination demonstrably doomed to fail.” Smith v. Weekly Disability Income Ins., 2010 WL

24   890068, at 3. Judge Coughenour found a Fourth Circuit case persuasive authority on the subject:

25          In Smith v. Metropolitan Life Insurance Co., 274 F.App’x. 251, 258 (4th Cir.
26          2008), an ERISA claimant made an administrative claim for long-term disability
            benefits, but only under the “own occupation” total disability standard; not the
27          “any gainful occupation” standard which, similar to the case at bar, applied after a
     PLAINTIFF’S SECOND MOTION FOR JUDGMENT
     UNDER FED.R.CIV.PRO. 52 Page 20
                                                                              LAW OFFICE    OF MEL CRAWFORD
                                                                                9425 35th Avenue N.E., Suite C
     NO. 2:15-cv-01050-RAJ                                                        Seattle, Washington 98115
                                                                             Tel 206.694-1614 Fax 206.905-2342
             Case 2:15-cv-01050-RAJ Document 47 Filed 08/03/17 Page 21 of 24



 1          set period of time passed under the less restrictive standard. The Fourth Circuit
            held that the claimant was excused from exhausting the administrative remedies
 2          under the stricter standard, because it would have been futile for the claimant to
 3          argue that he could not perform any gainful occupation months after the insurance
            company determined that he could perform his own occupation.
 4
     Smith v. Weekly Disability Income Ins., 2010 WL 890068, at *3. Smith v. Metropolitan Life
 5
     Insurance Co. reasoned that –
 6
            Met Life had already explained to Smith on several occasions that he could
 7          perform his own occupation. This determination “necessarily precluded
            [Smith]from arguing with a straight face to the same insurance company that he
 8          was unable to perform ... any occupation.” Dozier v. Sun Life Assurance Co., 466
 9          F.3d 532, 535 (6th Cir. 2006). See also Paese v. Hartford Life Accident Ins. Co.,
            449 F.3d 435, 449 (2d Cir. 2006) (noting that plan’s decision that insured was not
10          disabled from his own occupation “necessarily implies a decision that he was not
            totally disabled from ‘any occupation’ ”).
11
     Id., 274 F. App’x 251 at 258 (alterations in original).
12
            In Young v. Regence BlueShield, No. C07-2008RSL, 2008 WL 4163112 (W.D. Wash.
13
     Sept. 2, 2008), this Court excused a plaintiff from exhaustion because the insurer’s position was
14
     “known and would have resulted in the denial of an appeal.” Id. at *3 (citing Horan v. Kaiser
15
     Steel Ret. Plan, 947 F.2d 1412, 1416 (9th Cir. 1991), overruled on other grounds by Pac. Shores
16
     Hosp. v. United Behavioral Health, 764 F.3d 1030, 1042 (9th Cir. 2014)). Judge Lasnik found in
17
     Young that “the purposes of the exhaustion requirement would not be served by requiring
18
     exhaustion[.].” Id. (citing Amato, 618 F.2d. at 567).
19
            Both Smith cases, and Young, are instructive here. Unum’s position is known. Another
20
     appeal to Unum – asking it to determine Mr. Bunger is unable to perform any occupation, when
21
     it maintains he can perform his own – will inevitably result in a denial. See Foster v. Blue Shield
22
     of California: “a clear position taken in litigation can provide grounds for excuse from
23
     exhaustion.” Id., No. CV 05-03324, 2009 WL 1586039, at *5 (C.D. Cal. June 3, 2009) (citing
24
     Horan, 947 F.2d at 1416). Another appeal will not “help reduce the number of frivolous
25
     lawsuits under ERISA.” Amato, 618 F.2d at 567. It will simply require Mr. Bunger to file
26
     another action or seek to reopen this one. The other purposes of exhaustion – promotion of
27
     PLAINTIFF’S SECOND MOTION FOR JUDGMENT
     UNDER FED.R.CIV.PRO. 52 Page 21
                                                                              LAW OFFICE    OF MEL CRAWFORD
                                                                                9425 35th Avenue N.E., Suite C
     NO. 2:15-cv-01050-RAJ                                                        Seattle, Washington 98115
                                                                             Tel 206.694-1614 Fax 206.905-2342
             Case 2:15-cv-01050-RAJ Document 47 Filed 08/03/17 Page 22 of 24



 1   consistent treatment of benefit claims, providing a nonadversarial method of claims settlement or

 2   minimizing the costs of claims settlement – also would not be served by requiring Mr. Bunger to

 3   go through a futile process.

 4          The court in Carrier v. Aetna Life Ins. Co. declined to address the plaintiff’s entitlement

 5   to “any occupation” benefits when the insurer only had denied “own occupation” benefits, but

 6   that was because it found “nothing in the Administrative Record for the Court to resolve this

 7   factual issue.” Id., 116 F. Supp. 3d 1067, 1084 (C.D. Cal. 2015). That does not describe the

 8   situation here. The medical information now before the Court was generated in late 2016, well

 9   into the any occupation period. This includes Dr. Taggart’s statement that Mr. Bunger is unable

10   “to work at any job on a regular, continuous, and predictable basis.” AR 879. (emphasis added).

11   It includes Dr. Badger’s November 12, 2016 statement that Mr. Bunger was not “capable of

12   performing consequential work-related activities on a sustained basis at this time,” AR 665, and

13   Dr. Sise’s conclusion that Mr. Bunger’s ability to “perform work duties at a sufficient pace is fair

14   to limited based on [his] ability to perform activities of daily living.” AR 825. And it includes

15   Mr. Bunger’s account of his symptoms and their effect on his functioning – that, about one-half

16   of the time his fatigue and other symptoms leave him “wiped out” and unable to perform basic

17   tasks or chores, or to interact with his family. AR 855.

18          These are proper circumstances for the Court to exercise its discretion and find that

19   exhaustion would be futile. There is sufficient evidence in the record from which to find Mr.

20   Bunger is unable, due to his symptoms, to work at any occupation on a predictable and sustained

21   basis. As in Duperry v. Life Ins. Co. of N. Am., “it is apparent from the record that [the

22   claimant’s] inability to work was not the result of particular duties specific to [his] regular

23   occupation,” and the Court can therefore rule on the “any occupation” standard. 632 F.3d 860,

24   876 (4th Cir. 2011). See also Oliver v. Coca Cola Co., 497 F.3d 1182, 1200-1201 (11th Cir.

25   2007), vacated in part on petition for reh’g, 506 F.3d 1316 (11th Cir. 2007) (district court may

26   rule on a beneficary’s entitlement to “any occupation” benefits even though the plan

27   administrator has not yet done so). Further, Mr. Bunger is now two years into the “any
     PLAINTIFF’S SECOND MOTION FOR JUDGMENT
     UNDER FED.R.CIV.PRO. 52 Page 22
                                                                                LAW OFFICE    OF MEL CRAWFORD
                                                                                  9425 35th Avenue N.E., Suite C
     NO. 2:15-cv-01050-RAJ                                                          Seattle, Washington 98115
                                                                               Tel 206.694-1614 Fax 206.905-2342
             Case 2:15-cv-01050-RAJ Document 47 Filed 08/03/17 Page 23 of 24



 1   occupation” period and has been without disability benefits since August 2014. Requiring him

 2   to go through a futile administrative appeal would result in yet more time passing before he and

 3   his family benefit from the safety net Costco’s LTD Plan was meant to provide.

 4                                         IV. CONCLUSION

 5          Mr. Bunger has met his burden to show that, more probably than not, he was disabled

 6   under the STD Plan from August 30 to October 4, 2014; disabled from his own job under the

 7   LTD Plan from October 5, 2014 to July 5, 2015; and disabled from any occupation from July 6,

 8   2015 through the present. He respectfully asks the Court to enter judgment so declaring.

 9          Proposed Findings of Fact and Conclusions of Law are submitted herewith.

10          RESPECTFULLY SUBMITTED this 3rd day of August 2017.

11                                                LAW OFFICE OF MEL CRAWFORD
12
                                                  By s/Mel Crawford
13                                                   Mel Crawford, WSBA # 22930
                                                  Attorney for Plaintiff
14                                                melcrawford@melcrawfordlaw.com
15

16

17

18

19

20

21

22

23

24

25

26

27
     PLAINTIFF’S SECOND MOTION FOR JUDGMENT
     UNDER FED.R.CIV.PRO. 52 Page 23
                                                                             LAW OFFICE    OF MEL CRAWFORD
                                                                               9425 35th Avenue N.E., Suite C
     NO. 2:15-cv-01050-RAJ                                                       Seattle, Washington 98115
                                                                            Tel 206.694-1614 Fax 206.905-2342
             Case 2:15-cv-01050-RAJ Document 47 Filed 08/03/17 Page 24 of 24



 1                                    CERTIFICATE OF SERVICE

 2          I certify that on the date noted below I electronically filed this document entitled

 3   Plaintiff’s Second Motion for Judgment Under Rule 52 with the Clerk of the Court using the

 4   CM/ECF system, which will send notification of such filing to the following persons:

 5          Attorneys for Defendants:
 6          D. Michael Reilly
            David Howenstine
 7          LANE POWELL, PC
            1420 Fifth Ave, Ste 4100
 8          Seattle, WA 98101-2338
            Email: reillym@lanepowell.com
 9                  howenstined@lanepowell.com
10
            DATED this 3rd day of August 2017 at Seattle, Washington.
11

12

13                                                        s/Mel Crawford
                                                          Mel Crawford
14

15

16

17

18

19

20

21

22

23

24

25

26

27
     PLAINTIFF’S SECOND MOTION FOR JUDGMENT
     UNDER FED.R.CIV.PRO. 52 Page 24
                                                                              LAW OFFICE    OF MEL CRAWFORD
                                                                                9425 35th Avenue N.E., Suite C
     NO. 2:15-cv-01050-RAJ                                                        Seattle, Washington 98115
                                                                             Tel 206.694-1614 Fax 206.905-2342
